                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

JASON KESSLER
and NATIONAL SOCIALIST
MOVEMENT and TRADITIONALIST
WORKER’S PARTY,

                        Plaintiffs,
v.                                                               Civil Action No. 3:18CV00107

CITY OF CHARLOTTESVILLE, VIRGINIA,
AL THOMAS; BECKY
CRANNIS-CURL,

                        Defendants.

     CONSENT MOTION FOR AMENDMENT OF PROPOSED PRETRIAL ORDER

        COME NOW Defendants, the City of Charlottesville, Virginia, Al Thomas, and Becky

Crannis-Curl, and Plaintiffs Jason Kessler, National Socialist Movement, and Traditionalist Worker’s

Party, by counsel, and after conferring, jointly move and request that the Court amend the proposed

Pretrial Order to change the date that triggers deadlines for the Rule 26(f), F.R.C.P. conference, the

Rule 26(a), F.R.C.P. initial disclosures, and each party’s initial expert disclosures and setting any trial

date to the date the Court rules on Rule 12(b)(6), F.R.C.P. motions to dismiss, which the parties jointly

anticipate will be filed on or before February 18, 2019. The parties, by counsel, have further agreed

to stay all discovery in this matter until after the Court rules on the anticipated Rule 12(b)(6), F.R.C.P.

motions. All other provisions of the proposed Pretrial Order are agreed.

                            CITY OF CHARLOTTESVILLE, VIRGINIA
                                        By Counsel

                                             AL THOMAS
                                              By Counsel

                                      BECKY CRANNIS-CURL
                                           By Counsel




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                         JASON KESSLER, NATIONAL SOCIALIST
                           MOVEMENT and TRADITIONALIST
                                  WORKER’S PARTY
                                     By Counsel




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of January, 2019, I electronically filed the foregoing

Consent Motion with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record, and I also e-mailed the foregoing to the following:


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